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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                                Plaintiff

 v.                                                          Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,                                            Electronically Filed

                                Defendant.


______________________________________________________________________________

                     MOTION FOR HEARING TRANSCRIPT
______________________________________________________________________________

       Comes now the undersigned attorney as former CJA appointed counsel for Mr. Conley.

Previously, on March 17, 2023, Mr. Conley, through undersigned counsel, filed an ex parte

motion. (R. 20.) On March 29, 2023, an ex parte hearing was held before the Honorable Regina

S. Edwards, United States Magistrate Judge for the Western District of Kentucky. (See R. 37.)

During that hearing Judge Edwards indicated that while the hearing was held ex parte, and the

transcript will remain under seal, the transcript would be available if needed. At this time, the

undersigned hereby requests a copy of the transcript of the ex parte hearing that was held on

March 29, 2023.

                                                      Respectfully submitted,

                                                      /s/ Joshua F. Barnette
                                                      Joshua F. Barnette
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                                CERTIFICATE OF SERVICE

        I hereby certify that on 24th day of April, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system, which will send a notice of electronic filing to
all counsel of record.



                                                     /s/ Joshua F. Barnette
                                                     Joshua F. Barnette




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